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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NORTH DAKOTA
                            SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,              §
                                       §
                  Plaintiff,           §
                                       §
V.                                     § Case No. 1:03-cr-046-01
                                       §
SHAWN LEO BARTH,                       §
                                       §
                  Defendant.           §
______________________________________ § PETITIONER SHAWN LEO BARTH’S
                                       § AMENDED MEMORANDUM OF LAW
SHAWN LEO BARTH,                       § IN SUPPORT OF MOTION TO VACATE,
                                       § SET ASIDE OR CORRECT SENTENCE
                  Petitioner,          § PURSUANT TO 28 U.S.C. § 2255
                                       §
V.                                     §
                                       §
UNITED STATES OF AMERICA,              § Case No. 1:05-cv-010
                                       §
                  Respondent.          §
______________________________________________________________________________


TO THE HONORABLE DANIEL L. HOVLAND, CHIEF JUDGE, UNITED
STATES DISTRICT COURT F OR THE DISTRICT OF N ORTH DAKOTA:

      COMES NOW , SHAW N LEO BARTH, hereinafter referred to as Petitioner,

who by and through his undersigned counsel, Gary Hill, files the following

Amended Memorandum of Law in Support of Motion to Vacate, Set Aside or

Correct Sentence pursuant to 28 U. S.C. § 2255.

                                          I.

                      Order Entered on December 12, 2006

      On December 12, 2006, this Honorable Cour t entered an Order granting

Petitioner’s request to amend his brief in support of habeas relief. Petitioner submits

the following arguments and authorities concerning issues not previously briefed.
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                                         II.

       Trial Counsel Failed to Object to the Sentencing Enhancements

      Trial counsel failed to object, under Blakely v. Washington, 124 S.Ct. 2531

(2004), as to whether his prior drug convictions could be constitutionally used to

impose a life sentence, notwithstanding that Almendarez-Torres v. United States, 523

U . S. 224 (1998) had not been expressly overruled by Blakely.         Consequently,

Petitioner was left to raise, for the first time on appeal, whether his Sixth

Amendment rights had been violated by the imposition of sentencing enhancements

not found by the jur y beyond a reasonable doubt. The appellate review, however,

was based on the plain error standard whcih is one that is exceedingly difficult to

sustain. United States v. Olano, 507 U. S. 725, 734 (1993); United States v. Pirani,

406 F. 3d 543, 549 (8th Cir. 2005). The Petitioner contends that he was sentenced

under a mandatory guideline regime which had, while his case was pending on

appeal, been rendered to an advisory sentencing scheme by the holding in United

States v. Booker, 125 S. Ct. 738 (2005). The life sentence he received was clearly

unreasonable and, in accordance with Booker, he should be re-sentenced.

                                         III.

            Trial Counsel’s Failure to Negotiate a Plea Agreement
                 And to Discuss Petitioner Testifying at Trial

      The evidence against Petitioner was certainly substantial, especially since a

Motion to Suppress was not even filed, let alone granted. N otwithstanding the

viability of any suppression motion, the evidence against Petitioner was

considerable. Moreover, the government had negotiated plea agreements with a

number of co-conspirators/participants in this case. Petitioner’s trial counsel had an
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ethical and legal obligation to, at the minimum, seek out a plea agreement on

Petitioner’s behalf--an agreement which could have resulted in a sentence

considerably less than life imprisonment. United States v. Great-Walker, 285 F. 3d

727, 730 (8th C ir. 2002). The Supreme Court has recognized that “ disposition of

criminal charges by agreement between the prosecutor and the accused .. . is an

essential component of justice, “ . . . which is to be encouraged.” Santobello v. United

States, 404 U . S. 257, 260 (1971); Johnson v. Mabry, 707 F. 2d 323, 326 (8th Cir.

1983).     See also: Brady v. United States, 397 U. S. 742, 751-752 (discussing

advantages of plea bargained dispositions for criminal justice administration).

Admittedly, the prosecution does not have to initiate or participate in plea

bargaining, Weatherford v. Bursey 429 U. S. 545, 561 (1977), but in the instant case,

it clearly had already done so with other defendants and participants. Barth’s trial

counsel never initiated any plea discussions with the government nor did he present

such an alternative to Petitioner for his consideration.      W ith the evidence that

existed, trial counsel was ineffective in not making even a minimal effort to do so

on Barth’s behalf. Petitioner certainly would have seriously considered a plea

agreement and his contention is not based on the hindsight of having received a life

sentence.

         The United States Supreme Court has also explicitly recognized the

constitutional right of a criminal defendant to testify on his own behalf. Rock v.

Arkansas, 483 U . S. 44, 49-53 (1987); Whitfield v. Bowersox, 324 F. 3d 1009, 1013

(8th Cir. 2003). Moreover, the defendant has the “ultimate authority” to decide

whether to testify on his own behalf. Jones v. Barnes, 463 U. S. 745, 751 (1983).
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Absent a knowing and voluntary waiver, trial counsel must advise the defendant

about his right to testify and whether the defendant accepted the recommendation not

to testify. See: Frey v. Schuetzle, 151 F. 3d 893, 896 (8th Cir. 1998). Petitioner

wanted to testify in order to contest the allegations made against him by cooperating

co-conspirators and/or government witnesses. Petitioner did not object, on the

record, to his silence at trial because of the advise of trial counsel that “ the jury

would not believe him due to his prior record. ” Petitioner had nothing to lose and

everything to gain by testifying, notwithstanding his prior record, and it was not his

decision not to testify.

                                         IV.

       Trial Counsel Failed to Properly Investigate the Backgrounds of
        Cooperating Witnesses and to Cross-Examine Said Witnesses

      Trial counsel has an obligation to conduct an independent investigation of

witnesses who are testifying against his client, especially those with criminal records

or who are gaining a benefit. It is not sound trial strategy by failing to conduct any

meaningful cross-examination or investigation. Middleton v. Roper, 455 F. 3d 838

(8th Cir. 2006). A review of the record reveals that trial counsel’s efforts in this

regard were de minimus and amounted to ineffective assistant of counsel.

                                               Respectfully submitted,


                                               /s/ Gary Hill
                                               GARY JOEL HILL
                                               Attorney for Petitioner
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                        CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Amended

Memorandum of Law in Support of Motion to Vacate, Set Aside, or Correct

Sentence Pursuant to 28 U . S. C. § 2255 was mailed, postage prepaid, to Rick L.

Volk, Assistant U nited States Attorney, 220 E. Rosser Avenue, Room 372,

Bismarck, Nor th Dakota 58501, on this the 20th day of February, 2007.




                                           /s/ Gary Hill
                                           GARY JOEL HILL
